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                         Exhibit A




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

 Plaintiffs,

 vs.                                                 Civil Action No. 8:25-cv-01230

 U.S. DEPARTMENT OF EDUCATION,
 et al.,

 Defendants.




                 DECLARATION OF GROVER J. “RUSS” WHITEHURST


I, Grover J. “Russ” Whitehurst, declare under penalty of perjury, under 28 U.S.C. § 1746, that
the following is true and correct:

   1. I am over eighteen years old, of sound mind, and fully competent to make this

        declaration.

   2. I served a full six-year term from 2002 to 2008 as the founding Director of the Institute of

        Education Sciences (“IES”) within the U.S. Department of Education (“ED”). Just prior

        to that, in 2001-2002, I was the Senate-confirmed Assistant Secretary of Education in

        charge of the Office of Educational Research and Improvement (“OERI”) within ED. In

        that role I worked with Congress to write the Education Sciences Reform Act (“ESRA”),

        which is the legislation that created IES.




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3. After my eight years of federal service, I became the Herman and George R. Brown

   Chair, Director of the Brown Center on Education Policy, and Senior Fellow in

   Economic Studies, all at the Brookings Institution in Washington, DC. Just prior to my

   federal service, I was Chair of the Department of Psychology at Stony Brook University,

   where I am currently Professor Emeritus. I have also served as the Vice-President for

   Academic Affairs at the Merrill-Palmer Institute in Detroit. I earned a Ph.D. in

   experimental child psychology from the University of Illinois at Urbana-Champaign. My

   research career has focused on developing and evaluating programs intended to

   accelerate the development and progress through school of children with language and

   reading problems. I have over 100 peer-reviewed publications.

4. I am consequently knowledgeable about IES’s functions, requirements, and purpose, as

   well as education research and policy more broadly.

5. IES was organized after its legislative founding in 2002 with efficiency and coherence as

   touchstones. I worked diligently, with the support of the Secretary of Education, to ensure

   that IES was staffed in a manner that was as efficient as possible. Indeed, it had fewer

   staff for its responsibilities than comparable components of other departments. The goal

   in this staffing model was to have an office with highly qualified and busy staff

   operating with clear responsibilities. Staffing at IES has remained at about the same lean

   level of around 205 in the 23 years since the initial organization plan was implemented.

   This has been despite substantial increases in budget and scope of work at IES during the

   intervening years.




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    6. Evidence that staffing at IES is spare comes from several sources, including formal

        recommendations from external advisory groups. For instance, a 2022 report on the

        future of IES from the prestigious National Academies of Science concluded that “Given

        the breadth of what IES is expected to accomplish … staffing has historically been

        limited in comparison to other federal science, research, and statistical agencies with

        similar objectives.”1 Hard data corroborate this conclusion: For instance, the American

        Statistical Association reports that the National Center for Education Statistics (“NCES”),

        the largest division of IES, has, by far, the smallest number of FTE staff per budget dollar

        of any of the 13 principal federal statistical agencies. In fact, if NCES were staffed based

        on its budget at the median level of the other major statistical agencies it would be seven

        times larger in terms of number of employees.2

    7. Further to the previous point, IES has been exceptionally efficient and productive in

        carrying out its duties at its historically low levels of staffing. It led all other federal

        agencies that do similar work in that regard. In that context, it is either irrational or

        deceptive to propose that the agency can carry out its required functions with a staff

        nearly 90 percent smaller.

    8. Consider what might be required in terms of staff to carry out just a portion of the

        required functions of just one of the four centers within IES, the National Center for

        Education Research (“NCER”). I will limit this consideration to doctoral level staff who

        serve as program officers for particular topics of research funded by NCER. Per ESRA,


1
 National Academies of Sciences, Engineering, and Medicine. 2022. The Future of Education Research at IES:
Advancing an Equity-Oriented Science. Washington, DC: The National Academies Press.
https://doi.org/10.17226/26428 [page 54]
2
 National Academies of Sciences, Engineering, and Medicine. (2022). A Vision and Roadmap for Education
Statistics. Washington, DC: The National Academies Press. https://doi.org/10.17226/26392.
National Academies of Sciences, Engineering, and Medicine. 2022.




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   “The Research Commissioner shall support” at least 8 research and development centers

   with each center’s focus chosen from a list of 11 topics provided in legislation: 1) Adult

   literacy, 2) Assessment, standards, and accountability, 3) Early childhood development

   and education, 4) English language learners, 5) Improving low achieving schools, 6)

   Innovation in education reform, 7) State and local policy, 8) Postsecondary education and

   training, 9) Rural education, 10) Teacher quality, and 11) Reading and literacy. In

   addition, per ESRA, “the Research Center shall carry out research initiatives” on 12)

   Closing the achievement gap, 13) Impact of technology, and 14) Cognition and learning.

   In addition to these 14 topics there are a number of research foci that have been added to

   the NCER portfolio since the legislative list was created.

9. For each of these 14+ topics, NCER would need one staff member to serve as program

   officer for that research initiative. A program officer in NCER has many responsibilities.

   For instance, they read draft grant applications and provide feedback to the researcher

   who is planning to apply for funding. They manage funded research projects, monitoring

   progress and providing guidance. They provide technical advice on research design and

   methodology. They connect researchers with relevant experts. Outside of their activities

   in overseeing particular grants, they help develop and implement programs that train

   researchers to conduct high-quality education research, contribute to efforts to

   disseminate the findings of education research to educators, policymakers, and the public,

   engage with stakeholders in the areas of research in which they are expert, and contribute

   to the evolving research priorities within IES.




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    10. NCER presently has 468 open research grants.3 Historically NCER staffing has ranged

        from 13 to 17 full-time employees.4 Taking the median number of 15 staff as the pool of

        program officers prior to the recent mass staff reduction, each program officer would

        have been overseeing over 30 individual funded grants, while carrying an additional

        workload associated with grants in the application stage. That would have been a heavy

        workload for the office as a whole and for each program officer. With only a handful of

        program officers, it would be an impossible workload. If the staff reductions from the

        mass reduction in force stand, it will be impossible for NCER and the National Center for

        Special Education Research (“NCSER”), the other grant-making division of IES, to fulfill

        its legislative requirements in awarding and managing grants. The research grant

        component of IES will grind to a halt for existing grants. No new research grants will be

        made even though Congress has appropriated the funds for that purpose.

    11. If almost all IES staff are terminated and either retire or move to new jobs before a court

        or new leadership decides to adequately staff the agency, it will take years to restore the

        agency's functions. IES's professional staff was acquired over a long period of time and

        required a heavy investment in recruiting and retention. The current staff has developed

        significant expertise in education research, education statistics, and different forms of

        government administration including grant and contract awards and oversight. If the vast

        majority of existing staff are finally separated from the agency, later efforts to rebuild IES

        will be troubled.

3
  IES website as referenced on 4/18/2025:
https://ies.ed.gov/funding/research/education-research-grants?&mcontenttype=Grant&lawardstatus=Open&morg=N
CER
4
  National Academies of Sciences, Engineering, and Medicine. 2022. The Future of Education Research at IES:
Advancing an Equity-Oriented Science. Washington, DC: The National Academies Press.
https://doi.org/10.17226/26428.




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12. If IES collapses, its functions cannot effectively be replaced by state and local research

   efforts. No state in the nation currently has anything like a mini-IES within its state

   department of education, for good reasons. One reason is lack of funding at the state

   level. Another is lack of legislation at the state level to support the political

   independence such an office would need to carry out its work. Yet another would be

   almost insurmountable challenges in attracting qualified staff – the pool of technically

   qualified researchers, evaluators, and statisticians is too small to support 50 state level

   IES-type offices, and only a minority of qualified individuals would be interested in

   service in a state department of education. Finally, there is the problem of level of

   inquiry. The IES-type office in Mississippi will be focused on questions and data that are

   of primary interest in Mississippi. The same would be true for the other states. Without

   IES, who will address the research, evaluation, and assessment questions of relevance to

   all jurisdictions? Without IES who will provide the comparative data that will allow

   Mississippi to know whether the Mississippi education system is performing better than

   Alabama’s? Without IES, who will answer “what works?” questions about the many

   federal education policies, such as student loans? The answer to all these questions is that

   no state entity will do this work. It has to be done at a national level.

13. In that context and mindful that the Trump administration has defended its efforts to close

   ED through mass reductions in force as “returning control of education to the states” I

   note that a) the scientific functions of IES cannot be “returned” to the states because they

   never existed at the state level; and b) Article I, Section 8, Clause 8 of the Constitution

   grants Congress the power to “promote the Progress of Science and useful Arts.” That is




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        precisely the intent and consequence of the Education Sciences Reform Act, to promote

        the progress of an applied science of education.

    14. IES has been a remarkable bi-partisan government success story. ESRA, which

        established IES, was passed in 2002 by unanimous consent in both the House and Senate.

        Since that time IES has received continued bipartisan support in Congress. Within the

        executive branch, until presently, it has been in favor in both Republican and Democrat

        administrations. Its success has been signaled in many ways, most importantly by the

        increasing useful knowledge it has generated of the condition of education and of what

        works and doesn’t in education policy and practice. Among its notable external

        evaluations, the Office and Management and Budget (“OMB”) gave IES its highest score

        for program effectiveness, concluding that “IES has transformed the quality and rigor of

        education research within the Department of Education and increased the demand for

        scientifically based evidence of effectiveness in the education field as a whole.”5 It

        would be a serious loss to the nation if IES were swept away. It would be doubly tragic if

        IES, created by a unanimous act of Congress, were shut down without legislative warrant.



        April 19, 2025
        Fort Myers, FL


        __/s/ Gover J. “Russ” Whitehurst*____
        Grover J. “Russ” Whitehurst

*A copy of the signature page bearing an original signature is attached hereto.




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https://obamawhitehouse.archives.gov/sites/default/files/omb/assets/omb/expectmore/summary/10009008.2007.html




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND




 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

 Plaintiffs,

 vs.                                                Civil Action No. 8:25-cv-01230

 U.S. DEPARTMENT OF EDUCATION,
 et al.,

 Defendants.




                       DECLARATION OF ERIN POLLARD YOUNG

I, Erin Pollard Young, declare under penalty of perjury, under 28 U.S.C. § 1746, that the

following is true and correct:

        1.     I am over eighteen years old, of sound mind, and fully competent to make this

declaration. This declaration is based on my personal knowledge and information that has been

shared with me through conversations with my colleagues.

        2.     I am an Education Research Analyst in the National Center for Education

Evaluation and Regional Assistance (“NCEE”), a part of the Institute of Education Sciences

(IES), which is itself a semi-independent division of the Department of Education (“ED”). I have

worked at NCEE for 14 years. As an Education Research Analyst, I have knowledge about the

responsibilities of IES in general and NCEE specifically.




                                                1



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       3.     NCEE is divided into two divisions: Evaluation and Knowledge Use. I work in

the Knowledge Use division. The Knowledge Use Division has two branches: the Regional

Educational Laboratory Branch and the Knowledge Synthesis Branch. I work in the Knowledge

Synthesis Branch.

       4.     The Knowledge Synthesis Branch is responsible for three programs:

             a. Education Resources Information Center (ERIC). ERIC is a large-scale database

             of education research that is 60 years old. It is the second most visited website of

             the Department. It is the only major database of grey literature, which means

             literature not published in a journal, but from schools, districts, or policy centers

             across the country. It also includes literature from both mainstay and obscure

             journals. It catalogs the metadata and makes it available in a free database and data

             feeds. It has over 14 million users a year.

             b. What Works Clearinghouse (the Clearinghouse). The Clearinghouse reviews

             relevant research, identifies well-designed and well-implemented impact studies,

             summarizes the findings from those studies, and disseminates them to the public. It

             reviews studies against the Departments’ evidence standards to determine whether

             a study’ research methods support its causal claims. It is a trusted source of

             scientific evidence for what works in education.

             c. The National Library of Education. The National Library of Education is a

             legislatively mandated program and one of five national libraries designated by

             Congress. The library serves the public by providing access to rare and historic

             education materials, as well as serving as an agency library that supports the

             Department’s offices.


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       5.      All of the Knowledge Use division’s programs carry out statutory requirements.

The REL program was established by the Education Sciences Reform Act, 20 U.S.C. § 9564.

ERIC predated ESRA, but was explicitly continued by that statute. See 20 U.S.C. § 9562(a).

While not authorized by name, the Clearinghouse’s function is mandated by ESRA, 20 U.S.C. §

9562(a)(3) and (b), and the Every Student Succeeds Act, 20 U.S.C. § 5545—and is further

referenced by name at 20 U.S.C. § 7013. The Clearinghouse standards and procedures have been

incorporated by reference into regulations. 34 C.F.R. § 77.2.. The National Library of Education

was established by ESRA. See 20 U.S.C. § 9562(d).

       6.      Until February 2025, I served as the Contracting Officer’s Representative (or

“COR”) for three contracts across two programs. I managed the contract for ERIC, which is a

highly visible project. I have managed ERIC for 12 years. I also managed two contracts

involving the Clearinghouse. I managed an infrastructure project that included overseeing the

development of methodological standards, training on those standards, developing a workflow

management system to review research against those standards, peer review of all findings, and

maintaining the website.

       7.      I also oversaw the development of a Practice Guide on reading interventions for

students K-3 struggling in reading. The practice guide was being written by a panel of experts to

address the concern, often raised by the President and the Secretary of Education, that American

children are falling behind in reading. The practice guide was going to provide a free resource

full of recommended activities, scripts, and lessons to improve reading.

       8.      On February 10, 2025, my colleagues and I were called into a division-wide

meeting by our supervisors. Our supervisors said that they had been called into an emergency

meeting with IES’s Acting Director, and were told that the Department of Government


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Efficiency (“DOGE”) had decided to terminate the majority of IES’s contracts, including all

contracts relating to the Knowledge Use division except those for the RELs. We were not given

any lists of which contracts were terminated, and were told not to communicate with contractors.

I only found out that the two contracts I oversaw for the WWC were canceled when I received

emails from contractors. I was only copied on some of the termination notices. I found out after

the termination notices were sent out that ERIC was not included on the list.

       9.      No DOGE or ED employee discussed the consequences of canceling the contracts

I oversaw with me prior to this meeting. None of my IES colleagues talked with DOGE either.

The first day that DOGE arrived at IES was February 10, and I understand that they had already

marked the contracts for cancellation.

       10.     As a subject matter expert and employee responsible for some of these contracts, I

neither participated in any deliberations before their cancellation, nor am I aware of any

reasoning being provided for the cancellations. Neither my supervisor nor his supervisor was

involved in the decision or aware of the cancellations in advance.

       11.     Based on my 14 years at IES, and training as a COR, the way these contracts were

terminated was extremely unusual. The COR is the person at an agency who has the most direct

knowledge of a contract, and the contractor’s performance of that contract. These contracts had

no concerns over performance and met a bona fide need of the Department.

       12.     The cancellation of the WWC support contracts means that the Department

cannot review new studies and publish reviews to its website. Educators and teachers will no

longer have access to a credible, trusted, free review of educational programs before they spend a

lot of money purchasing them. Instead, they may purchase programs based on sales pitches and

waste money on programs that are not proven to be effective. Additionally, the Clearinghouse


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reviews the Department’s grant applications to determine whether methodologies in proposed

grants are supported by evidence as defined by 20 U.S.C.§ 7801(21). Without that work, the

Department may fund programs that have no evidence of effectiveness.

        13.     My third contract, the contract for ERIC, was not canceled. But that contract will

expire on its own if an option to extend is not exercised by April 23, 2025. I was informed by

IES leadership that DOGE was only approving contract actions that had a reduction of funding

of at least 50%. To reduce the contract by 50% would mean ERIC would have to drop 45% of its

source publications, and cease providing customer support, creating communications materials,

and approving new sources to be indexed.

        14.     If the ERIC contract does not continue, then the website will not be updated with

new education research, and there is a risk that valuable research will be lost. Commercial search

engines and scholarly databases rely on ERIC to gather and catalog education research and

non-journal literature will become much harder to discover without ERIC. Even at a fifty percent

reduction, it will become a far-less useful and effective tool—particularly without the customer

support that helps fulfill NCEE’s obligations under 20 U.S.C. § 9562(b)(4). It will be harder for

teachers and students to have a free way to gather research and resources and learn from less

known sources. Instead, they may turn to free, easily accessible sources like blogs, TikTok, or

Pinterest. Peer-reviewed educational research will no longer be available to everyone, but instead

it will only be available to the elite who can pay to access it. It is also possible that the website

could be dismantled entirely, which would have a huge impact on educators and researchers.

Reduction in Force

        15.     On March 11, 2025, I received an internal email advising me to telework the




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following day because there was a security threat for all three Department of Education

buildings. Around 6 p.m. that evening, my laptop restarted, and I was no longer able to send

external emails. Around 7:22 p.m., I received an email stating that “your organizational unit is

being abolished along with all positions within the unit—including yours.” The email further

informed me that I would be placed on administrative leave beginning March 21, 2025. Attached

as Exhibit 1 to this Declaration is a true and correct copy of that email. As has been publicly

reported, the next day I received an email from Acting IES Director Soldner stating that the vast

majority of IES staff had been subject to termination and our work was being transitioned from

IES. I do not have access to that email. On April 10, 2025, I received a “Notice of Separation

Due to Reduction in Force” that indicated my position, as well as the entire Knowledge

Synthesis Branch was being abolished. A true and correct copy of that email is attached as

Exhibit 2 to this Declaration.

       16.      My understanding is that IES was significantly impacted by this Reduction in

Force (RIF). The following employees remain:

             a. NCES: Has three remaining employees.

             b. NCER: Only the Commissioner

             c. NCSER: not subject to the RIF, but has fewer than 10 total employees

             d. NCEE: Only the Commissioner, who is also the Acting Director of IES

             e. Additional IES staff who were not part of one of these four centers were also

                impacted. The director of IT and the Information Security Specialist, who run the

                server and keep it secure and ensure that personally identifiable information

                remains confidential were subject to the RIF. Staff who handle congressional

                inquiries and FOIA requests were also subject to the RIF.


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        17.     When a federal contract is terminated for convenience, the COR is responsible for

overseeing the closeout of that contract—including by ensuring the return of any work-product,

including any data that might be in the contractor’s possession. I was not able to complete the

closeouts of my contracts before being placed on administrative leave. That work, like ERIC,

was transitioned to another project officer who is taking over all of the contracts at

NCEE—including the canceled ones-- in addition to her current responsibilities. She will not

have the capacity to create agreements with publishers, review all of the deliverables, be the help

desk for the website, and work to solve problems as they arise—while also closing out contracts

and ensuring the preservation of data on top of her normal responsibilities. I do not believe that

the project officer will have the capacity needed to effectively manage ERIC, much less any of

the other NCEE programs that have been assigned to her, on top of her existing workload.

        18.     Based on my knowledge and experience, I do not believe that the Department can

meet its many statutory obligations under ESRA following the RIF with the very small

remaining staff. There are three Contracting Officer’s Representatives left at IES. They are not

going to be able to run the statutorily required programs themselves. There are no staff remaining

to manage the contracts and or the budget, put money on the contracts, help write the solicitation

packages—much less comply with FOIA, manage the servers, preserve confidential data, and

ensure the timely dissemination of research and data. There are not enough people at IES left to

ensure that IES is fulfilling its statutory responsibilities.

        19.     For example, ESRA explicitly requires IES, through NCEE, to enter into contracts

to operate 10 Regional Education Laboratories (“RELs”). The statute is very prescriptive in the

requirements that IES must meet in entering these contracts, and the depth of oversight IES must

perform in overseeing their execution. In past years, I was responsible for developing the


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procurement package for the REL program, and it took months of intensive effort. See 20 U.S.C.

§ 9564. Re-bidding and overseeing the performance of all 10 RELs contracts will be an

extraordinarily intensive undertaking that typically takes at least 20 individuals to review

proposals and at least 5 full time staff to manage the contracts. But NCEE now has only a single

employee–the Commissioner–who would, if IES actually sought to carry out its required

functions–be fully responsible for the RELs, as well as all of NCEE’s other functions.

       20.     The implementation of this RIF gives me and my colleagues significant doubts

about the viability of continuing in the education research and data field. Due to the cancellation

of contracts and grants and the RIF, the majority of my colleagues and I will be unable to

transition to other education research positions. To my knowledge, terminated IES staff have

already begun exploring other forms of employment outside of education. Further, due to the

RIFs and hiring freezes at other agencies, terminated staff are unlikely to find positions within

the government. This will result in their certifications lapsing. As a result, the final termination

of so many staff is likely to lead to the loss of institutional knowledge that will not be easily

replaced.

       April 24, 2025

       Arlington, VA                                       /s/ Erin Pollard Young*
                                                               Erin Pollard Young

*A copy of the signature page bearing an original signature is attached hereto due to low scan
quality




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                         Exhibit 1




                             AERA-0033
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Pollard, Erin

From:              Clay, Jacqueline
Sent:              Tuesday, March 11, 2025 7:38 PM
To:                CHCO
Subject:           CHCO - Notice to Employees Impacted by Reduction in Force (RIF)
Attachments:       Instructions for ED Employees Impacted by RIF, 3-11-25.docx; ED RIF Information and Resources,
                   3-11-25.docx; Office Hours – Retirement Paperwork and Process | Questions and Answers

Follow Up Flag:    Follow up
Flag Status:       Flagged



Dear Colleagues,

I am writing to share some difficult news. This email serves as notice that your organizational unit is being
abolished along with all positions within the unit – including yours. Please note, if you elected to separate
under another program e.g., Deferred Resignation Program, Voluntary Early Retirement Authority (Early‐Out),
or Voluntary Separation Incentive Payment (Buy‐Out), you are NOT impacted by the Reduction in Force (RIF).

To provide you with the maximum opportunity to focus on your transition, you will be placed on paid
administrative leave starting Friday, March 21, 2025.

    Please take immediate action to review and comply with the Instructions for Employees Impacted by
     the RIF (attached). This document contains important information regarding access to ED facilities,
     transitioning your work, and preparing for administrative leave.

    Ensure your Principal Operating Component (POC) has your current mailing address, and a good
     personal phone number and email address to contact you.

    During the transition period, you will retain limited equipment and systems access to enable official
     communications regarding your RIF standing. Please note:
         o You are only authorized to back‐up your data to a network device or approved backup device.
        o You are prohibited from storing sensitive or mission‐critical data on your systems’ hard drive or
            handheld device.
        o All Department of Education system resources, including hardware, software programs, files,
            paper reports, and data are the sole property of the Department of Education, and there should
            be no expectation of privacy.
        o You are prohibited from transmitting electronic copies of Department of Education materials to
            your home or other personal accounts.
        o Personnel using remote access shall not download or store Government information on private
            equipment, optical or digital media.




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           o Unauthorized or improper use of this system may result in disciplinary action, as well as civil
             and criminal penalties.

    No earlier than 30 days from the date of this email you will receive your official RIF notice, which will
     begin an additional 60 days of paid administrative leave prior to your separation from the agency.

    This will give you a total of 90 days on paid leave to help facilitate your transition.

    Your official RIF notice will provide more detailed information on your specific benefits and standing
     and be delivered to your mailing address on file.

    You will only retain your Ed.gov email to facilitate communications with the agency through March 21,
     2025.

ED has made the determination to initiate RIF procedures as part of the agency’s restructuring process. These
actions support Executive Order (EO) 14158, Implementing the President’s “Department of Government
Efficiency” Workforce Optimization Initiative, dated February 11, 2025 and Office of Personnel Management
Guidance on Agency RIF and Reorganization Plans, dated February 26, 2025. This decision is in no way a
reflection of your performance or contributions, which we deeply appreciate.

I recognize that this is a challenging moment, and my team is committed to supporting you through this
transition.

    For additional information about Reductions in Force, visit the Office of Personnel Management RIF
     site.

    For general questions regarding next steps, please email workforcereshaping@ed.gov.

    For specific retirement or benefits questions, please contact benefits@ed.gov.

    Use the Employee Assistance Program, if needed. The Employee Assisstance Program (EAP) and
     WorkLife4You Program, provided by Federal Occupational Health (FOH), are available 24 hours a day, 7
     days a week at 1‐800‐222‐0364 (TTY: 1‐888‐262‐7848) or at www.FOH4you.com or
     www.worklife4you.com.

    Should you lose access or need IT support, please contact the Help Desk at
     ocioenterprisehelpdesk@ed.gov; or call 202‐708‐HELP (202‐708‐4357) and select Option 2.

With regard,

Jacqueline Clay
Chief Human Capital Officer

Attachments:
Instructions for ED Employees Impacted by RIF
ED RIF Information and Resources
Benefits and Work/Life Email: Office Hours – Retirement Paperwork and Process

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                 UNITED STATES DEPARTMENT OF EDUCATION



                                      April 10, 2025


MEMORANDUM

TO:            Young, Erin Pollard
               EDUCATION RESEARCH ANALYST, GS-1730-14
               IES, KNOWLEDGE SYNTHESIS

FROM:          Jacqueline Clay
               Deputy Assistant Secretary
               Chief Human Capital Officer
               Office of Human Resources
               Office of Finance and Operations

SUBJECT:       Notice of Separation Due to Reduction in Force

In accordance with the Executive Order titled Implementing The President’s
“Department of Government Efficiency” Workforce Optimization Initiative, dated
February 11, 2025, it is with great regret that I must inform you that your position of
EDUCATION RESEARCH ANALYST, GS-1730-14 is being abolished and you have
been reached for reduction in force (RIF) action. This memorandum constitutes a
specific RIF notice.

Effective June 10, 2025, ED will conduct a RIF within your competitive area. This action
is a result of the abolishment of your position in IES, KNOWLEDGE SYNTHESIS.

This RIF is in accordance with current law and regulations, which include Chapter 35 of
Title 5, United States Code, 5 Code of Federal Regulations, Part 351, internal U.S.
Department of Education (ED) policy, and where applicable, the governing collective
bargaining agreement between AFGE and ED. In accordance with these provisions, ED
will release you from your competitive level, and you do not have an assignment right to
another position in your competitive area. As a result, your separation from the Federal
service by RIF on June 10, 2025.

To conduct the RIF, the Office of Human Resources (OHR) prepared retention registers
which listed employees in retention standing order based on civil service tenure, veterans'
preference, length of Federal service and performance ratings. We used the following
information to determine your retention standing as of the RIF effective date:

Competitive Area: ERTK
Service Type: Competitive
Position Title, Pay Plan, Series and Grade: EDUCATION RESEARCH ANALYST,
GS-1730-14
Competitive Level: R1S




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Tenure Group: 1, CAREER APPT OR EXC (NOT ON TRIAL PD & W/O TIME
LIMIT)
Retention Tenure/ Subgroup: 1B
Service Computation Date (SCD): March 14, 2011
Latest Three Performance Evaluations:
Rating Performance and Pattern FY24: 5
Rating Performance and Pattern FY23: 5
Rating Performance and Pattern FY22: 5
SCD adjusted by latest three performance ratings: March 14, 1991

Attached to this letter is an Employee Guide to RIF Benefits which contains information
regarding leave and other benefits available to employees separated by RIF, as well as
information on the ED Career Transition Assistance Plan. In addition, you may authorize
OHR to release your qualification information to Federal, state, and private sector
agencies and organizations by completing the attached release authorization. Information
regarding benefits available under the Workforce Investment Act of 1998 Program,
including unemployment insurance is located at
http://www.doleta.gov/usworkforce/WIA/planstatus.cfm.

You may be eligible to receive severance pay. If you are eligible for severance, we will
process payment upon separation. If you think you may be eligible for discontinued
service or regular retirement, please see the Employee Guide to RIF Benefits for more
information or contact benefits@ed.gov. Note: You are not eligible for severance pay if
you are eligible for an immediate annuity under Minimum Retirement Age (MRA) +10,
optional or discontinued service retirement.

If you resign on or before the RIF effective date of June 10, 2025, ED will still consider
your separation involuntary. Please be advised that you may affect your appeal rights if
you resign. You are strongly encouraged to contact OHR for information if you are
considering resigning during this specific notice period.

OHR staff are available to assist you by explaining this proposed action and will provide
you with copies of pertinent regulations, benefits information, or other material related to
this action that you may wish to review. Title 5 of the Code of Federal Regulations Part
351 contain the RIF regulations. OHR will provide a copy to you upon request. You may
also inspect the appropriate retention register through the OHR. You may obtain any
information in writing by sending your request to the ED RIF Team, email:
WorkforceReshaping@ed.gov.

You may have the right to appeal this action to the Merit Systems Protection Board
(MSPB). Should you elect to appeal to the MSPB, your appeal must be in writing and
submitted no later than 30 calendar days after the effective date of the reduction in force
action. For more information, please visit www.mspb.gov or contact your local MSPB
regional or field office (see attached). However, if you are a bargaining unit employee,
you must use the negotiated grievance procedures and may not appeal to the MSPB
unless you allege that the RIF action was based upon discrimination.

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Alternatively, you may file an electronic appeal at https://e-appeal.mspb.gov/. See How
to File an Appeal at http://www.mspb.gov/appeals/appeals.htm. If you file an appeal the
MSPB must serve an acknowledgement order to the following address:

Office of the General Counsel,
U.S. Department of Education
400 Maryland Ave, SW
Washington, DC 20202

If you believe this action is because of a prohibited personnel practice other than
discrimination based on your race, color, religion, sex, national origin, age, disability,
marital status, or political affiliation, you may seek corrective action with the Office of
the Special Counsel (OSC). Your decision to file an MSPB appeal or to seek corrective
action from the OSC is exclusive and irrevocable. See Prohibited Personnel Practices
Overview for more information about seeking corrective action.

If you believe this action is because of race, color, religion, sex (including pregnancy),
national origin, physical disability, genetic information, or age, you may file a complaint
with Office of Equal Employment Opportunity Services by email at
ODS_OEEOS@ed.gov. To initiate a complaint, you must contact an ED Equal
Employment Opportunity Counselor within 45 days of the effective date of this action.

This RIF action is not a reflection upon your performance or conduct. It is solely due to
the reduction in the number of positions as described earlier in this letter. ED appreciates
the service you have rendered. We deeply regret that this decision affects you, and we
recognize the difficulty of the moment.

Attachments:
RIF Information Sheet
Employee Guide to RIF Benefits
ED Placement Programs
Reemployment Priority List Registration Form
Authorization to Release Qualifications Information
Severance Pay Information
MSPB Appeal Offices Locations

Sent by email to: erin.pollard@gmail.com

No hard copy to follow




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

 Plaintiffs,

 vs.                                                Civil Action No. 8:25-cv-01230

 U.S. DEPARTMENT OF EDUCATION,
 et al.,

 Defendants.




                             DECLARATION OF ELLEN WEISS

I, Ellen Weiss, declare under penalty of perjury, under 28 U.S.C. § 1746, that the following is
true and correct:

   1. I am over eighteen years old, of sound mind, and fully competent to make this

        declaration.

   2. I submit this declaration on behalf of the Society for Research on Educational

        Effectiveness (“SREE”), where I have served as Executive Director for nearly seven

        years.

   3. I hold a Masters in Public Policy from Duke University and have previously served in

        roles impacting policy, including as a legislative assistant in Congress and as an analyst at

        the Department of Education.

   4. SREE is an interdisciplinary professional membership association dedicated to advancing

        the generation and use of educational effectiveness research to solve pressing challenges




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     in education, from early childhood to post-secondary education. Effectiveness research

     includes large-scale evaluations – randomized trials and quasi-experiments – to

     understand if programs meant to improve student outcomes work as intended – that is, if

     they cause student outcomes to improve. SREE is dedicated to advancing research that is

     relevant to education practice in order to implement better strategies for serving students.

     SREE is headquartered in Rockville, Maryland, and incorporated in Illinois.

  5. In the last membership year, SREE had a total membership of 925. Membership

     enrollment for the current membership year is now open, and SREE is continuing to

     enroll additional members. SREE’s members include researchers, practitioners,

     policymakers, and students with an interest in advancing education research to address

     challenges in education.

  6. SREE advocates for the development and use of rigorous research methods to evaluate

     educational programs. Like the Institute for Education Sciences (“IES”), its members

     focus their research on answering questions regarding “What Works, for Whom, and

     Under What Conditions.” To that end, SREE convenes educators, researchers, and

     policymakers to share solutions, and supports its members in their efforts through

     meetings, workshops, professional development, and publications. SREE also holds

     conferences, offers professional development, disseminates research design resources,

     and employs other strategies to bring diverse professionals in the education research field

     together to share knowledge and practices in service of improving the effectiveness of

     education strategies and policies.

  7. SREE administers and, in collaboration with Taylor and Francis, publishes a journal of

     educational effectiveness – The Journal of Research on Educational Effectiveness




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     (“JREE”) – that serves as a forum for rigorous vetting and dissemination of education

     research. The journal publishes articles that includes studies of the effectiveness of

     specific education interventions and programs, as well as meta-analyses of other research,

     and methodological work focused on improving applied research to advance research

     design and data analysis. The Journal has published numerous articles on the

     effectiveness of specific literacy interventions, strategies to counter absenteeism,

     curricula, and broader education reform impacts.

  8. SREE and its membership rely heavily on the connected environment of education

     research data and resources operated and created by IES. Many of SREE’s members

     were recruited into the field of education and trained in education research as part of IES

     funded pre- and post-doctoral training programs. Many members of SREE lead or

     collaborate on IES-funded research evaluating the impacts of educational interventions,

     and many other members of SREE contribute to the development and use of rigorous

     methods for testing these interventions. More succinctly, SREE’s members cannot

     adequately carry on with their careers in education research if IES stops funding the

     collection of high-quality education data and research.

  9. SREE also has members who are policymakers and staff in school districts across the

     country. These members rely both on IES continuing to provide timely and relevant high

     quality education research and data and in IES carrying out its dissemination roles by

     sharing resources like Practice Guides through the What Works Clearinghouse (“WWC”)

     and the dissemination, evaluations and technical assistance functions of the Regional

     Education Laboratories (“RELs”). The recent contract cancellations will mean that these

     Practice Guides are not updated making the research in them less relevant over time. And




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     RELs are not providing technical assistance or conducting new research or evaluations.

     This is particularly important now, as the education system is experiencing significant

     challenges following the pandemics and is seeing accelerated changes that must be

     accurately measured in a timely manner to provide researchers, and the students and

     public they work to serve, with relevant information.

  10. SREE members also contribute to the broader education research enterprise, through

     technical assistance and through training researchers to support the use of rigorous

     research methods in evaluations. For example, one contract cancelled on February 10

     provided technical assistance oversight to the Education Innovation and Research (EIR)

     program within the Department of Education. This technical assistance was meant to

     ensure that EIR studies included strong research designs that would allow for

     unequivocal conclusions regarding if the new programs improved student outcomes.

     Other SREE members lead IES-funded statistical and methodological research institutes

     which train hundreds of education researchers (many members of SREE) in the use of

     rigorous, cutting-edge research for better understanding if programs work, and if they do,

     where and for whom they work best. These IES funded workshops are attended by

     researchers across the field of education and provide resources that are not available

     anywhere else.

  11. IES (and its predecessor components) has for decades served as a crucial resource for

     promoting high quality education research and data. In the last two decades, IES’s efforts

     to build a world class education research system have created a community of researchers

     with the training to carry out high quality education research. That system and




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     community–which includes SREE and its members–is in grave jeopardy if IES ceases to

     function.

  12. SREE members rely upon the use of ERIC for conducting reviews of, disseminating, and

     synthesizing research findings. As a result of the RIF’s to IES staff and the contract

     cancellations, ERIC is slated to reduce the included journals by nearly 50%. This means

     both that the existing literature will not be available to SREE members – which will make

     thorough systematic reviews and meta-analyses impossible – and that SREE members –

     who have completed research with IES grants – may not be able to provide the findings

     of their studies to school districts and decision-makers without journal subscriptions.

  13. As part of the February 10 contract cancellations, a contract for the organization

     overseeing the scientific review panels for August 2024 IES grant proposals (NCER and

     NCSER) was cancelled. No decisions have to date been made on the funding of any of

     these proposals. Additional IES grant proposals were submitted for a March 2025

     deadline; because of the RIF’s to IES staff, there is currently no staff (or contracts) to

     review these grant proposals. SREE members submitted proposals to both competitions,

     including proposals for evaluating new and existing programs, and the development of

     new measures and methods for rigorous research. SREE includes both regular members

     and student members (primarily graduate students in schools of education, but also in the

     fields of statistics, psychology, computer science, and economics). Most SREE members

     who are not students are employed at universities, as consultants, and at contract research

     firms. The employment of these members – and thus their membership in the SREE

     organization – is in jeopardy, since this ecosystem depends upon federal contracts and

     grants for employment. Since February 10, contract research firms have begun a process




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     of continued layoffs. In the absence of funding from grants, universities are not hiring

     post-docs, research associates, research assistants, or new faculty. Without new positions,

     these researchers will need to leave the field of education research. Reductions to the

     membership of the organization are a threat to its livelihood and mission. Terminating

     nearly all of IES’s staff and cancelling contracts supporting vital research, dissemination

     resources, and other important functions threatens SREE’s ability to continue to

     effectively achieve its purpose.

  14. Effectiveness research – the focus of SREE’s mission – is an ecosystem of research that

     focuses on understanding “what works, for whom, and under what conditions”. The

     ecosystem is centered around the rigorous research designs and methods to determine if

     there is strong evidence that a program works – if it improves student learning.

     Determining if a program works is based upon use of a strong causal design. Randomized

     trials provide an important means for testing if an intervention works by randomizing

     students, teachers, or schools; often this includes at least 40 schools for findings to be

     unambiguous. Studies of this scope require large teams of researchers and multiple years

     of funding. IES is the primary funder of these studies, both through contracts and grants.

     There is no other government agency that funds studies of this size and scope in

     education. In the absence of this funding – via both contracts and grants – the ability to

     carry out the mission of SREE is in jeopardy.

  15. I understand from public statements from the Department of Education that IES staff are

     set to be finally terminated in June. If IES definitively separates its expert staff, it is likely

     it will take years to rebuild the agency. SREE and its members stand to lose an




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    irreplaceable resource without IES, which will make it infeasible for many members to

    continue to do their vital, public-interested work.



    April 28, 2025
    Rickville, Maryland                                    /s/ Ellen Weiss*_____
                                                           Ellen Weiss
     6LJQDWXUH SDJH DWWDFKHG KHUHWR




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND




 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

 Plaintiffs,

 vs.                                               Civil Action No. 8:25-cv-01230

 U.S. DEPARTMENT OF EDUCATION,
 et al.,

 Defendants.




                           DECLARATION OF FELICE LEVINE

I, Felice J. Levine, declare under penalty of perjury, under 28 U.S.C. § 1746, that the following

is true and correct:


1.      I am over eighteen years old, of sound mind, and fully competent to make this

        declaration.

2.      I submit this declaration on behalf of the American Educational Research Association

        (“AERA”), where I serve as Executive Director.

3.      I hold A.B., A.M., and Ph.D. degrees in sociology and psychology from the University of

        Chicago. Prior to my service at AERA, I served as Executive Officer of the American

        Sociological Association, Director of the Law and Social Science Program at the

        National Science Foundation, and a Senior Research Social Scientist at the American Bar

        Foundation. I have conducted research in the social, behavioral, and education sciences




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      throughout my career. I have published or led important studies focusing on topics

      ranging from children and youth, to open science, to higher education, and I have worked

      to use and promote quality data, indicators, and statistics in the social sciences in

      numerous capacities. For well over three decades, I have developed expertise on issues of

      confidentiality, research integrity, and ethical conduct in research, as well as other issues

      related to research and science policy.

4.    AERA is a national research society, founded in 1916, that strives to advance knowledge

      about education, encourage scholarly inquiry related to education, and promote the use of

      research to improve education and serve the public good. AERA also works to foster the

      dissemination and practical application of research results. In short, AERA exists to

      advance the field of education research so that education can serve our students, families,

      educators, school leaders, and society more broadly.

5.    AERA is a membership organization with approximately 25,000 members, most of

      whom are education researchers (defined at the highest level of generality). This

      membership includes university faculty, researchers, statisticians, data scientists, graduate

      students preparing for such careers, and other professionals with expertise in education

      research. AERA also has institutional members, through our Consortium of University

      and Research Institutions, represented by deans of schools of education and leaders of

      other education research organizations. AERA is headquartered and incorporated in

      Washington, DC.

6.    As a scientific society, AERA has its own research program directed to advancing the field,

      promoting cutting-edge lines of inquiry, and undertaking projects and initiatives that foster the

      highest quality research and standards in education research. In carrying out these efforts, AERA

      undertakes a range of projects and initiatives. For example, for well over a decade, AERA has



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      awarded grants for research conferences intended to stimulate new lines of study on education

      issues. Dating back to 1966, AERA has worked in concert with the American Psychological

      Association and the National Council on Measurement in Education to publish the Standards for

      Educational and Psychological Testing that represents the gold standard in guidance on testing in

      the United States and worldwide. In more recent years, in collaboration with the Inter-university

      Consortium for Political and Social Research, AERA operates the Partnership for Expanding

      Education Research in STEM (“PEERS”) Data Hub to make data that exist in public-use form

      accessible to a wide and diverse range of scholars. These are all methods through which AERA

      works to elevate and advance the field of education research through data, statistics, and studies.

      Most recently and rapidly after the eruption of the COVID pandemic, AERA undertook a study

      that focused on the impact of COVID on graduate students and early career scholarly on their

      research, their lives, career options, and potential harms. As part of our commitment to serve the

      public good, as lead author, I presented the results of this work to the U.S. House of

      Representatives Committee on Science, Space, and Technology at a hearing titled “Building Back

      the U.S. Research Enterprise: COVID Impacts and Recovery” in February 2021.

7.    AERA is engaged in the advancement, sharing, and dissemination of scientific knowledge at

      early stages of knowledge production through publication. The AERA Annual Meeting, the

      AERA Online Papers Repository, and the AERA i-Presentation Gallery are all dedicated

      functions of AERA to iteratively share results, have opportunities for scholarly interaction and

      discussion, and enhance transparency in reporting that make for rigorous research. AERA

      publishes seven peer-reviewed journals in the field of education research, statistics, and

      evaluation all of which undertake high quality peer review where authors and reviewers are

      deidentified to reduce inadvertent bias. AERA’s members all receive access to AERA journals

      without cost.




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8.     AERA offers and provides for professional development and training in research and

       research-related activities, including training programs, workshops (including for high

       school and undergraduate students), course offerings at the Annual Meeting, and a

       Virtual Learning Series—all of which build capacity, competencies, understandings, and

       an environment of support that fosters a culture of research rigor and excellence. Without

       Institute of Education Sciences (“IES”) resources, data, and access to IES-funded

       research, this AERA mission and purpose will be far less viable and effective.

9.     AERA, further, provides professional development for users of data and research so that

       policymakers, practitioners, relevant professionals, and others in the education ecosystem

       understand the role of education research in improving education practice, and better

       engage in evidence-based work. The AERA Annual Meeting serves as a forum for

       professionals in the education research field to connect and collaborate.

10.    The continued operation of IES and its centers, including the National Center for

       Education Statistics (“NCES”), is critical to AERA and its members.

11.    Since its establishment by Congress in 2002, IES has promoted, funded, and created high-

       quality education data and research. IES has integrated peer-review standards and quality

       assessment into its research and data collection, and analysis functions in a manner that ensures

       education researchers have access to high-quality data and research.

12.    This effort cannot be reasonably replaced or replicated by any effort of the private sector,

       states, districts, or higher education institutions. For example, state agencies cannot

       possibly provide the complete and accurate data on the status and progress of our entire

       nation’s education system that is currently provided by NCES.

13.    IES, and particularly its storied component NCES, play a vital role in creating the

       environment and requiring standards in which rigorous education research and data



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       analysis are even possible. NCES has existed for more than 150 years and plays a critical

       role as a high-quality federal statistical agency that provides objective, timely data about

       our educational system. NCES’s data, from longitudinal and other studies to the National

       Assessment of Educational Progress (“NAEP”), are critical resources for AERA and its

       members.

14.    Without NCES’s generation and dissemination of high-quality data—and the ability for

       AERA’s members to access and use that data, even when it is restricted—AERA will

       have much less research to publish in its many publications, as AERA members and other

       education researchers will have lost the core, quality data sources that underpin much of

       the field of education research. By stifling the creation of valuable new research, the

       inability of IES and NCES to provide high quality data hampers AERA’s ability to fulfill

       its mission, to both serve the field of education research and the public.

15.    In fact, AERA and its members have already begun to experience these harms. At our

       recent Annual Meeting this past week, our members were unable to share and present

       new information as they would have before because they did not have access to data and

       resources from IES. At the conference, AERA members—graduate student members and

       members at all career stages—reported that they are not able to receive access to

       restricted-use data or receive disclosure review of data, which is needed for their

       important work. Moreover, those involved in editing AERA journals also reported that

       authors were hampered in responding to peer review that frequently requires additional

       data analysis due to the protracted timetable for IES disclosure review. This has had the

       consequence of delaying publication and the dissemination of useful findings. This

       problem is particularly acute for graduate student members, as their degree programs




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       have specific timelines, and the work they must undertake to meet those timelines relies

       on IES data or approval of data use. IES’s stated disclosure review policy has been that it

       will complete review within 5 to 10 business days. Based on these reports, IES does not

       appear to be complying (or able to comply) with its own standard. Moreover, not only is

       disclosure review now delayed so significantly that it might be described as denied, but

       also IES has no bandwidth to review new applications for restricted-use data, which I

       learned from IES leadership is currently on hold.

16.    The ability of our education researcher members to do their vital work and to continue

       their careers effectively is dependent on IES continuing to provide the backbone of high-

       quality data collections, data analysis, research, resources, and dissemination that no

       other entity could reasonably provide. The unavailability of the crucial data collected and

       analyzed by NCES, for example, will critically undermine AERA’s programs.

17.    AERA’s members will be enormously frustrated in their abilities to carry on with their

       careers at universities and research institutions (and other entities) if they no longer have

       the research infrastructure of data and high-quality resources that form the foundation for

       education researchers’ work.

18.    For example, AERA has had, for more than 30 years, a dedicated program to support

       doctoral students and early career scholars in the advanced statistical analysis of federal

       data resources, most particularly the data (and especially the restricted data) provided by

       NCES. This program has prepared leading education researchers and education

       statisticians and will be badly harmed by the IES and, within it, NCES evisceration. If

       NCES ceases to function as the federal statistical agency for education, and does not have

       the resources to collect and provide vital, trustworthy, high quality data, this treasured




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       AERA program will be harmed, past and present awardees harmed, and the public and

       policy makers informed by this work harmed. Even in just the short period of time since

       IES’s contracts and staff were terminated en masse, these harms are already becoming far

       too apparent.

19.    If IES ceases to function and continues to fail to review and approve grant applications—

       as our members have already experienced—our members will lose the opportunities to

       conduct research using the rich, high-quality research funded and directed by IES.

20.    I understand from public statements from the Department of Education that IES staff are

       set to be finally terminated in June. As explained, our members have experienced

       significant harms from the reduction in staff and contract terminations. If the agency

       finally separates the vast majority of its expert staff, the years that could be necessary to

       rebuild IES would cause enormous harm to the field of education research and to

       AERA’s members. Resources and data will be hopelessly absent, out-of-date, or deeply

       flawed for an extended period of time, making it increasingly difficult for AERA’s

       members to conduct any new research or analysis directed at solving educational

       challenges that our nation currently faces. IES and its components’ work is invaluable

       and irreplaceable.

21.    Because IES’ critical data functions are not (and cannot) be performed by states, school

       districts, schools, institutions of higher education, or other existing federal agencies (as

       none has the expertise, staffing or contractor support that IES had in place and expertly

       operated for decades), IES’s permanent destruction would drive education researchers

       and education statisticians with great expertise out of the field entirely. They would not

       be able to continue with their work. And the absence of these data would dissuade




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 graduate students from entering the field in the first place, harming the field for decades

 to come. The country stands to lose the ability to accurately assess the state of our

 educational system and to understand policies that could improve it if IES is dismantled.


 April 29, 2025
 Reston, VA                             ________________________
                                             Felice J. Levine




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                         Exhibit I




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

 Plaintiffs,

 vs.                                                 Civil Action No. 8:25-cv-01230

 U.S. DEPARTMENT OF EDUCATION,
 et al.,

 Defendants.




                            DECLARATION OF SEAN REARDON

I, Sean Reardon, declare under penalty of perjury, under 28 U.S.C. § 1746, that the following is
true and correct:

    1. I am over eighteen years old, of sound mind, and fully competent to make this

        declaration.

    2. I am a member of the American Educational Research Association and the Society for

        Research on Educational Effectiveness. Broadly speaking, I study educational

        opportunity in the U.S. and how the public education system creates opportunities for

        children.

    3. My research investigates the causes, patterns, trends, and consequences of social and

        educational inequality. In particular, I study issues of residential and school segregation

        and of racial and ethnic and socioeconomic disparities in academic achievement and

        educational success. In addition, my work develops methods of measuring social and




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   educational inequality (including the measurement of segregation and achievement gaps)

   and methods of causal inference in educational and social science research.

4. I have invested more than three decades of time and resources in the profession of

   studying education, education outcomes, and the impact of education out of a

   commitment to the public interest. I see my work as part of an effort to understand

   educational challenges and inequities, and educational successes, to better inform our

   society, policymakers, and educators about how our nation’s education system can be

   improved.

5. I have used National Center for Education Statistics (“NCES”) data regularly as an

   integral part of my work since 1993. I and my team use both publicly available NCES

   data, as well as restricted-use data NCES data.

6. Accessing and using restricted data from IES–data that has potentially identifying

   information within it–is vital to the research that I and my team conduct. If, as a result of

   the cancellation of support contracts and termination of staff, IES can no longer

   effectively administer the system for sending restricted data and conducting pre-

   disclosure review of research products based on those data, my ability to carry out

   important research will be harmed.

7. After conducting analysis and research using restricted data, I and my team regularly

   create research products, such as papers and public-use databases, for dissemination to

   the broader research community and the general public.

8. We regularly invest hundreds or thousands of hours into research and analysis conducted

   with this restricted data, and the subsequent creation of research products for publication.




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9. Before those products created with inputs from restricted data can be published, they

   must go through pre-disclosure review at IES. My understanding is that this review is

   conducted by a combination of contractors and IES employees.

10. Without receiving pre-disclosure review, research that has consumed significant time and

   resources cannot be published. There is significant uncertainty about whether and for

   how long IES can continue to provide access to, and approve publications relying on,

   restricted data with the currently available resources.

11. Much of my research relies in particular on EDFacts data that has historically been

   collected by the Department under Title I regulations. For the last 15 years, my research

   has relied primarily on restricted-use EDFacts data provided by NCES. These data are the

   only source for comprehensive data on academic performance patterns in each public

   school in the U.S.

12. At present, I and my team are working on research designed to measure school

   improvement patterns in each public school and district in the U.S. over the last 15 years.

13. Without the availability of pre-publication review, we will not be able to publish our

   findings that we have worked so hard to create.

14. The mass cancellation of IES support contracts, in combination with the loss of

   approximately 90 percent of IES’s staff, creates an imminent risk that this prepublication

   review will no longer be available to even allow use of restricted data we have already

   received.

15. Additionally, without the availability of any meaningful resources–through either support

   contracts or staff–it is doubtful that I and my team will be able to continue to successfully

   request existing restricted data.




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16. Moreover, the actual data and research that NCES other IES components create will be

   tremendously diminished by the mass contract cancellations and lay offs of almost all

   staff, which will prevent me from using up-to-date, high quality data in my research and

   will prevent our nation from understanding the status of our education system.

17. It will also be harmful if contractors who have collected and/or analyze data for NCES or

   other parts of IES are not allowed to share or are required to destroy such data and

   analyses when their contracts are terminated. The destruction of important data that has

   already been collected would further harm our ability to do our work going forward.

18. For example, my understanding is that the contract for the Early Childhood Longitudinal

   Study, Kindergarten Cohort (“ECLS-K”) study has been canceled. My team and my

   students have been planning research using ECLS-K data. I previously published several

   high-profile research papers using earlier ECLS-K studies from 1998 and 2010 and

   planned to add to that research using the new ECLS-K study data. The inability to use

   this rich and important data source will diminish our ability to conduct effective research

   and data analysis on trends and patterns in kindergarten readiness and strategies for

   improving early childhood education.

19. Moreover, this cancellation is a senseless waste of valuable resources that have already

   been expended. The ECLS-K study included detailed information on 15,000

   kindergarteners in 800+ public and private schools across the U.S. IES invested

   enormous resources to collect these data through teacher, parent, and principal surveys

   and multiple one-on-one assessments of all 15,000 students by trained assessors. The first

   three waves of the ECLS-K data have already been collected, and NCES had scheduled

   the early waves of data to be released in early 2026, with subsequent waves collected and




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   released over the next few years. If the data collected in the ECLS-K study is not made

   available, that investment will be wasted.

20. The dramatic cutbacks at IES have had other direct harms. For example, no new research

   proposals are being reviewed by IES, as they cancelled the expert review panels—expert

   panels that evaluate research proposals received by IES—that had been scheduled for

   February and March 2025. In addition to the harm caused by the failure to continue to

   conduct important research, I am also harmed directly by the agency’s failure to continue

   functioning. I submitted two proposals to IES in September 2024, which would have

   been reviewed in February/March of 2025. Given that the review panels have been

   cancelled, these proposals cannot be reviewed or funded. In addition, I and my colleagues

   at Stanford submitted a grant proposal, in response to a Request for Proposals from IES,

   to training Ph.D students in cutting-edge education research methods. The lack of staff at

   the National Center for Education Research (“NCER”) will make it almost impossible for

   this or other proposals to be reviewed or funded. I and my team expended hundreds of

   hours and resources into these proposals that won’t be considered because the agency’s

   resources are not being dedicated to its historical and congressionally-funded functions. I

   also will not have the benefit of the continuing up-to-date research that would have been

   created by other recipients of these grants.

   April 28, 2025
   [Stanford, CA]                                 ____________________________
                                                        Sean Reardon




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